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Case:17-03283-LTS Doc#:11307-1 Filed:02/18/20 Entered:02/20/20 09:40:46   Desc:
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Case:17-03283-LTS Doc#:11307-1 Filed:02/18/20 Entered:02/20/20 09:40:46   Desc:
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Case:17-03283-LTS Doc#:11307-1 Filed:02/18/20 Entered:02/20/20 09:40:46   Desc:
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